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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             GREENVILLE DIVISION

UNITED STATES OF AMERICA,

VS.                                                  CRIMINAL ACTION NO. 4:06CR124-P-D

CHARLES BARRETT MERRILL, ET AL.,                                              DEFENDANTS.

                                             ORDER

       These matters come before the court upon Defendant Jimmy Winemiller’s Motion to Allow

Additional Peremptory Challenges [223], Defendant Charles Barrett Merrill’s Motion for Additional

Peremptory Challenges [228] and the remaining defendants’ joinder therein. After due consideration

of the motions and the response filed thereto, the court finds that the motion should be denied.

       IT IS THEREFORE ORDERED AND ADJUDGED that Defendant Jimmy Winemiller’s

Motion to Allow Additional Peremptory Challenges [223], and Defendant Charles Barrett Merrill’s

Motion for Additional Peremptory Challenges [228] are DENIED.

       SO ORDERED this the 8th day of September, A.D., 2009.


                                                     /s/ W. Allen Pepper, Jr.
                                                     W. ALLEN PEPPER, JR.
                                                     UNITED STATES DISTRICT JUDGE
